Case 2:12-cr-00003-JRG-RSP          Document 370       Filed 09/27/12     Page 1 of 1 PageID #:
                                           1153



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
 v.                                            §    CASE NO. 2:12-CR-3-15 -JRG-RSP
                                               §
 MARCY SANDERS                                 §


               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United

 States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 745 of an

 indictment with a violation of 21 U.S.C. ' 841(c), Possession of a List 1 chemical. Having

 conducted a proceeding in the form and manner prescribed by FED. R. CRIM P. 11, the Magistrate

 Judge recommends that the Court accept the defendant=s guilty plea. The parties waived their
      .
 right to file objections to the Findings of Fact and Recommendation. The Court is of the opinion

 that the Findings of Fact and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the

 United States Magistrate Judge, filed July 13, 2012, are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

 defendant GUILTY of Count 745 of the indictment in the above-numbered cause.
         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 27th day of September, 2012.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
